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                                 UNITED STATES DEPARTMENT OF JUSTICE
                                 OFFICE OF THE UNITED STATES TRUSTEE
                                         DISTRICT OF DELAWARE

IN THE MATTER OF:                                        :       Chapter 11
                                                         :
Yueting Jia                                              :       Case No. 19-12220 (KBO)
                                                         :
                                                         :
                                                         :       NOTICE OF APPOINTMENT OF
          Debtor.                                        :       COMMITTEE OF UNSECURED
----------------------------------                       :       CREDITORS


       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons to
the Committee of Unsecured Creditors in connection with the above captioned cases:

1.                 Ping An Bank., Ltd. Beijing Branch, Attn: Si Huo, Asset Management Innovation, Dept.
                   Room, 1105 Building, A, Oriental Media Center No. 4, Guanghualu, Chaoyang District,
                   Beijing 100026 China, Phone: (+86) 186-0029-9807, email: zhangyao335@pingan.com.cn

2.                 China Minsheng Trust Co., Ltd., Attn: Yin Zhuo, 19th Floor, Tower C of Minsheng
                   Financial Center, No 28, Jianguomennei Avenue, Beijing 100005 China, Phone:
                   +8618611521926, Fax: +861085259080, email: yinshuo@msxt.com

3.                 Shanghai Leyu Chuangye Investment Management Center LP, Attn: Chen Yi, Room
                   26756, No 212, Lane 425, Fuyong Road, Songjiang District, Shanghai, Phone: +86 21-6135-
                   9049, Fax: +86 21-6135-9048, email: chenyi@htlcm.com

4.                 Jiangyin Hailan Investment Holding Co., Ltd, Attn: Yong Tang, Xin Qino Town, Hailan
                   Garment Industry City, Jiangyin, Jiangsu, China 214400, Phone: +86 13921881766, email:
                   jsfushizi@163.com

5.                 Shanghai Qichengyueming Investment Partnership Enterprise, Attn: Yan Chengbin,
                   1717 North Sichuan Road, 27th Floor, Hongkou District, Shanghai, China, Phone: +011-86-
                   139-18456632, email: yanchengbin@qc-investment.com




                                                  ANDREW R. VARA
                                                  Acting United States Trustee, Region 3


                                                  /s/ David L. Buchbinder for
                                                  T. PATRICK TINKER
                                                  ASSISTANT UNITED STATES TRUSTEE

DATED: October 25, 2019

Attorney assigned to this Case: David L. Buchbinder, Esq., Phone: (302) 573-6491, Fax: (302) 573-6497
Debtors’ Counsel: James O’Neill, Esq., Phone: 302-652-4100, Fax: 302-652-4400
